Case 0:20-cv-60748-RKA Document 69 Entered on FLSD Docket 01/29/2021 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  R. JAMES FACHTMANN,
                                                      CASE NO.: 20-60748-CIV-ALTMAN/Hunt

                Plaintiff,

  v.

  R. RICHARD FACHTMANN, and
  JACQUELYNN FACHTMANN,
             Defendant.
                           /

                     NOTICE TO CLERK OF FILING SYSTEM ERROR

         Please be advised that, when DEFENDANTS file their motion to dismiss, the ECF filing

  system refuses to permit DEFENDENTS’ counsel to select any of the named DEFENDANTS as

  a “filer”. AS a result, all DEFENDANTS papers filed in this action are ECF labeled “filed by” the

  PLAINTIFF.

  Dated: __Jan 29_________ , 2021

                                 Respectfully submitted,

                                 THE CONCEPT LAW GROUP, P.A.
                                 Counsel for Plaintiffs
                                 6400 North Andrews Avenue, Suite 500
                                 Fort Lauderdale, Florida 33309
                                 Telephone: 754-300-1500
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                                 By:    /s/ Robert C. Kain, Jr.
                                       Robert C. Kain, Jr.
                                       Florida Bar No. 266760
                                       rkain@conceptlaw.com


                                 CERTIFICATE OF SERVICE


                                                 1
Case 0:20-cv-60748-RKA Document 69 Entered on FLSD Docket 01/29/2021 Page 2 of 2




         I HEREBY CERTIFY that on _Jan. 29_________, 2021, I electronically filed the
  foregoing with the Clerk of the Court by using the CM/ECF system. I also certify that the
  foregoing document is being served this day on all counsel of record identified below, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
  manner for those counsel or parties who are not authorized to receive electronic Notices of
  Electronic Filing.

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